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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

    UNITED SERVICES AUTOMOBILE                  §
    ASSOCIATION,                                §
                 Plaintiff,

    v.                                          § CIV. A. NOS. 2:20-CV-00319-JRG (LEAD)
                                                § 2:21-CV-00110-JRG
    PNC BANK N.A.,                              §
                Defendant.



                                   VERDICT FORM

         In answering the following questions and completing this Verdict Form, you

   are to follow all the instructions that I have given you in the Court s Final Jury

   Instructions. Your answers to each question must be unanimous. Some of the

   questions contain legal terms that are defined and explained in detail in the Final

   Jury Instructions. You should refer to and consider the Final Jury Instructions as you

   answer the questions in this Verdict Form.
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         As used herein, the following terms have the following meanings:



       Plaintiff or “USAA refers to United Services Automobile Association

      “Defendant or “PNC refers to PNC Bank N.A.

      The “ 432 Patent refers to U.S. Patent No. 10,482,432

      The “’681 Patent” refers to U.S. Patent No. 10,013,681

      The “’605 Patent” refers to U.S. Patent No. 10,013,605

      The “’571 Patent” refers to U.S. Patent No. 8,977,571

      The “Asserted Claims refers collectively to Claims 1, 3, 5, and 21 of the 432
      Patent; Claims 12, 13, 22, 26, and 30 of the ’681 Patent; Claims 12, 13 and 22
      of the ’605 Patent; and Claims 1, 2, 9, 12, and 13 of the ’571 Patent




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         IT IS VERY IMPORTANT THAT YOU FOLLOW THE
        INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




        READ THEM CAREFULLY AND ENSURE THAT YOUR
               VERDICT COMPLIES WITH THEM




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   QUESTION NO. 1


   Did USAA, the Plaintiff, prove by a preponderance of the evidence that PNC, the

   Defendant, infringed ANY of the Asserted Claims?




         Yes:                    No:




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   QUESTION NO. 2

   Did PNC, the Defendant, prove by clear and convincing evidence that any of the

   following Asserted Claims are invalid?

         For each claim below, please answer Yes or “No .
         Claim 1 of the 432 Patent:         Yes:             No:

         Claim 3 of the 432 Patent:             Yes:        No: \/

         Claim 5 of the ’432 Patent:            Yes:        N o:

         Claim 21 of the ’432 Patent:           Yes:         No:

         Claim 12 of the ’681 Patent:           Yes:          No:

         Claim 13 of the ’681 Patent:           Yes:         No:

         Claim 22 of the ’681 Patent:           Yes:         No:

         Claim 26 of the ’681 Patent:           Yes:     N o: A

         Claim 30 of the ’681 Patent:           Yes:         No:

         Claim 12 of the ’605 Patent:           Yes:         No:

         Claim 13 of the ’605 Patent:           Yes:        N o:

         Claim 22 of the ’605 Patent:

         Claim 1 of the ’571 Patent:

         Claim 2 of the ’571 Patent:

         Claim 9 of the ’571 Patent:

         Claim 12 of the ’571 Patent:

         Claim 13 of the ’571 Patent:           Y es:         N o:

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   If you answered NO to Question No. 1, OR YES to ALL Asserted Claims
   in Question No. 2, then DO NOT ans er Question No. 3.

   Answer Question No. 3 ONLY as to any Asserted Claim that ou have found
   BOTH to be infringed AND not invalid.


   QUESTION NO. 3



   Did USAA, the Plaintiff, prove by a preponderance of the evidence that PNC, the

   Defendant, willfully infringed ANY of the Asserted Claims that you found were

   infringed?


         Yes:              No:




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   If you answered NO to Question No. I, OR YES to LL Asserted Claims
   in Question No. 2, then DO NOT ans er Question No. 4.

   Answer Question No. 4 ONLY as to an Asserted Claim that you have found
   BOTH to be infringed AND not invalid.


   QUESTION NO. 4


   What sum of money, if paid now in cash, has USAA, the Plaintiff, proven by a

   preponderance of the evidence would compensate it for its damages for

   in ringement?


   Answer in United States Dollars and Cents, if any:




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                     FINAL PAGE OF THE JURY VERDICT FORM

   You have now reached the end of the Verdict Form and should review it to ensure that

   it accurately reflects your unanimous determinations. The Jury Foreperson should then

   sign and date the Verdict Form in the spaces below. Once this is done, notify the Court

   Security Officer that you have reached a verdict. The Jury Foreperson should keep the

   Verdict Form and bring it when the jury is brought back into the courtroom.



   Signed this   /   3   day of May 2022.




                                     Jury Foreperson




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